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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA,                                                          Docket. No. S 24 Cr. 542 (AS)

               - against -                                                          NOTICE OF MOTION
                                                                                 (TO WITHDRAW AS COUNSEL)
SEAN COMBS,

                                         Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

          PLEASE TAKE NOTICE that, upon the annexed Declaration of Anthony L. Ricco,

Esq., that the defendant, Sean Combs, moves this Court before the Honorable Arun Subramanian,

United States District Judge, in the United States Courthouse, 500 Pearl Street, New York, New

York, at a time that is convenient for the Court, for the following relief:

          1.        For an order permitting Anthony L. Ricco, Esq. to withdraw as attorney of record in

this case.

          2.        For such other and further relief as to this Court may seem just and proper.

Dated: New York, New York
       February 20, 2025

                                                                         Attorney for Sean Combs



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TO:
          Hon. Arun Subramanian
          United States District Court Judge (SDNY)

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